Plaintiffs appeal from the judgment in favor of the defendant and from an order denying their motion for a new trial. This action was brought to quiet title to a tract of land in San Joaquin County, and involves the validity of a conveyance made by one Kyle as attorney in fact for plaintiffs and one Sebree to Olive A. Jennings, under whom defendant claims.
This appeal presents practically the same questions as are involved in the case of Alcorn v. Gieseke (Sac. No. 1693), ante,
p. 396, [111 P. 98], this day decided, affirming the judgment and order of the trial court. The defendants in both cases claim under Jennings to two separate portions of a larger tract conveyed to her by the deed whose validity is involved, and on the authority of Alcorn v. Gieseke, the judgment and order in the present appeal are affirmed.
Hearing in Bank denied. *Page 411 